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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Isabel Rubinas, et al.
                                 Plaintiff,
v.                                                   Case No.: 1:21−cv−00096
                                                     Honorable Edmond E. Chang
Nicolas Maduros, et al.
                                 Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, January 29, 2021:


        MINUTE entry before the Honorable Edmond E. Chang: On review of the status
report, R. 20, the Court appreciates the thoughtfulness of the filing. The Court adopts the
supplemental briefing schedule on the preliminary injunction motion. Plaintiffs shall file
their supplemental brief by 02/17/2021. The defense's supplemental response is due by
03/19/2021. The Plaintiffs' supplemental reply is due by 03/26/2021. The answer deadline
is suspended until 30 days after a decision is issued. The tracking status hearing of
02/05/2021 is reset to 04/16/2021 at 8:30 a.m., but to track the case only (no appearance is
required, the case will not be called). Emailed notice (mw, )




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